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                                Internal Revenue Service, Treasury                                                             § 1.6091–2

                                dividends, see paragraph (d) of § 1.6042–                 this section, income tax returns of in-
                                1 and paragraph (c) of § 1.6042–2 (relat-                 dividuals, estates, and trusts shall be
                                ing to returns for calendar years after                   filed with the district director for the
                                1962).                                                    internal revenue district in which is lo-
                                   (9) For the place for filing informa-                  cated the legal residence or principal
                                tion returns by corporations relating                     place of business of the person required
                                to contemplated dissolution or liquida-                   to make the return, or, if such person
                                tion, see paragraph (a) of § 1.6043–1.                    has no legal residence or principal
                                   (10) For the place for filing informa-                 place of business in any internal rev-
                                tion returns by corporations relating                     enue district, with the District Direc-
                                to distributions in liquidation, see                      tor at Baltimore, Md. 21202.
                                paragraph (a) of § 1.6043–2.                                 (2) An individual employed on a sal-
                                   (11) For the place for filing returns of               ary or commission basis who is not
                                information regarding payments of pa-                     also engaged in conducting a commer-
                                tronage dividends, see paragraph (b) of                   cial or professional enterprise for prof-
                                § 1.6044–1, and paragraph (d) of § 1.6044–2               it on his own account does not have a
                                (relating to returns for calendar years                   ‘‘principal place of business’’ within
                                after 1962).                                              the meaning of this section.
                                   (12) For the place for filing informa-                    (b) Corporations. Except as provided
                                tion returns relating to formation or                     in paragraph (c) of this section, income
                                reorganization of foreign corporations,                   tax returns of corporations shall be
                                see paragraph (e) of § 1.6046–1.                          filed with the district director for the
                                   (13) For the place for filing informa-                 internal revenue district in which is lo-
                                tion returns regarding certain pay-                       cated the principal place of business or
                                ments of interest, see paragraph (c) of                   principal office or agency of the cor-
                                § 1.6049–1.                                               poration.
                                   (14) For the place for filing informa-                    (c) Returns filed with service centers.
                                tion returns with respect to payment                      Notwithstanding paragraphs (a) and (b)
                                of wages in the form of group-term life                   of this section, whenever instructions
                                insurance, see paragraph (b) of § 1.6052–                 applicable to income tax returns pro-
                                1.                                                        vide that the returns be filed with a
                                   (15) For the place for filing informa-                 service center, the returns must be so
                                tion returns on Forms 1042–S with re-                     filed in accordance with the instruc-
                                spect to certain amounts paid to for-                     tions.
                                eign persons, see instructions to the                        (d) Hand-carried returns. Notwith-
                                form.                                                     standing paragraphs (1) and (2) of sec-
                                   (16) For the place for filing informa-                 tion 6091(b) and paragraph (c) of this
                                tion returns on Form 5074 with respect                    section:
                                to the allocation of individual income                       (1) Persons other than corporations. Re-
                                tax to Guam, see paragraph (b)(3) of                      turns of persons other than corpora-
                                § 1.935–1 and paragraph (d) of § 301.7654–                tions which are filed by hand carrying
                                1 of this chapter (Regulations on Pro-                    shall be filed with the district director
                                cedure and Administration).                               (or with any person assigned the
                                                                                          adminstrative supervision of an area,
                                [T.D. 6500, 25 FR 12108, Nov. 26, 1960, as
                                amended by T.D. 6887, 31 FR 8814, June 24,
                                                                                          zone or local office constituting a per-
                                1966; T.D. 6922, 32 FR 8713, June 17, 1967; T.D.          manent post of duty within the inter-
                                7284, 38 FR 20829, Aug. 3, 1973; T.D. 7385, 40 FR         nal revenue district of such director) as
                                50264, Oct. 29, 1975; T.D. 8734, 62 FR 53493, Oct.        provided in paragraph (a) of this sec-
                                14, 1997]                                                 tion.
                                                                                             (2) Corporations. Returns of corpora-
                                § 1.6091–2 Place for filing income tax                    tions which are filed by hand carrying
                                     returns.                                             shall be filed with the district director
                                   Except as provided in § 1.6091–3 (relat-               (or with any person assigned the ad-
                                ing to income tax returns required to                     ministrative supervision of an area,
                                be filed with the Director of Inter-                      zone or local office constituting a per-
                                national Operations) and § 1.6091–4 (re-                  manent post of duty within the inter-
                                lating to exceptional cases):                             nal revenue district of such director) as
                                   (a) Individuals, estates, and trusts. (1)              provided in paragraph (b) of this sec-
                                Except as provided in paragraph (c) of                    tion.

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                                § 1.6091–3                                                              26 CFR Ch. I (4–1–04 Edition)

                                See § 301.6091–1 of this chapter (Regula-                 the district director, or the director of
                                tions on Procedure and Administra-                        the service center, depending on the
                                tion) for provisions relating to the defi-                appropriate officer designated on the
                                nition of hand carried.                                   return form or in the instructions
                                  (e) Amended returns. In the case of                     issued with respect to such form:
                                amended returns filed after April 14,                        (a) Income tax returns on which all,
                                1968, except as provided in paragraph                     or a portion, of the tax is to be paid in
                                (d) of this section:                                      foreign currency. See §§ 301.6316–1 to
                                  (1) Persons other than corporations.                    301.6316–6 inclusive, and §§ 301.6316–8 and
                                Amended returns of persons other than                     301.6316–9 of this chapter (Regulations
                                corporations shall be filed with the                      on Procedure and Administration).
                                service center serving the internal rev-                     (b) Income tax returns on an indi-
                                enue district referred to in paragraph                    vidual citizen of the United States
                                (a) of this section.                                      whose principal place of abode for the
                                  (2) Corporations. Amended returns of                    period with respect to which the return
                                corporations shall be filed with the                      is filed is outside the United States. A
                                service center serving the internal rev-                  taxpayer’s principal place of abode will
                                enue district referred to in paragraph                    be considered to be outside the United
                                (b) of this section.                                      States if his legal residence is outside
                                  (f) Returns of persons subject to a termi-              the United States or if his return bears
                                nation    assessment.    Notwithstanding                  a foreign address.
                                paragraph (c) of this section:                               (c) Income tax returns of an indi-
                                  (1) Persons other than corporations. Re-                vidual citizen of a possession of the
                                turns of persons other than corpora-                      United States (whether or not a citizen
                                tions with respect to whom an assess-                     of the United States) who has no legal
                                ment was made under section 6851(a)                       residence or principal place of business
                                with respect to the taxable year shall                    in any internal revenue district in the
                                be filed with the district director as                    United States.
                                provided in paragraph (a) of this sec-                       (d) Except in the case of any depart-
                                tion.                                                     ing alien return under section 6851 and
                                  (2) Corporations. Returns of corpora-                   § 1.6851–2, the income tax return of any
                                tions with respect to whom an assess-                     nonresident alien (other than one
                                ment was made under section 6851(a)                       treated as a resident under section 6013
                                with respect to the taxable year shall                    (g) or (h)).
                                be filed with the district director as                       (e) The income tax return of an es-
                                provided in paragraph (b) of this sec-                    tate or trust the fiduciary of which is
                                tion.                                                     outside the United States and has no
                                  (g) Returns of persons subject to a ter-                legal residence or principal place of
                                mination assessment. Notwithstanding                      business in any internal revenue dis-
                                paragraph (c) of this section, income                     trict in the United States.
                                tax returns of persons with respect to                       (f) Income tax returns of foreign cor-
                                whom an income tax assessment was                         porations.
                                made under section 6852(a) with respect                      (g) The return by a withholding
                                to the taxable year must be filed with                    agent of the income tax required to be
                                the district director as provided in                      withheld at source under chapter 3 of
                                paragraphs (a) and (b) of this section.                   the Code on nonresident aliens and for-
                                                                                          eign corporations and tax-free cov-
                                [T.D. 6950, 33 FR 5356, Apr. 4, 1968, as amend-
                                ed by T.D. 7012, 34 FR 7690, May 15, 1969; T.D.
                                                                                          enant bonds, as provided in § 1.1461–2.
                                7495, 42 FR 33726, July 1, 1977; T.D. 7575, 43 FR            (h) Income tax returns of persons
                                58816, Dec. 18, 1978; T.D. 8628, 60 FR 62210,             who claim the benefits of section 911
                                Dec. 5, 1995]                                             (relating to earned income from
                                                                                          sources without the United States).
                                § 1.6091–3 Income tax returns required                       (i) Income tax returns of corpora-
                                     to be filed with Director of Inter-                  tions which claim the benefits of sec-
                                     national Operations.                                 tion 922 (relating to special deduction
                                  The following income tax returns                        for Western Hemisphere trade corpora-
                                shall be filed with the Director of                       tions) except in the case of consoli-
                                International Operations, Internal Rev-                   dated returns filed pursuant to the reg-
                                enue Service, Washington, DC 20225, or                    ulations under section 1502.

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